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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION
__________________________________________
                                                )
In re:                                          ) CHAPTER 11
                                                )
THE KRYSTAL COMPANY, et al.,                    ) Case No. 20-61065 (PWB)
                                                )
                                                ) (Jointly Administered)
                              Debtors.          )
________________________________________________)

           OBJECTION OF FLORIDA POWER & LIGHT COMPANY,
          GEORGIA POWER COMPANY, AND ORLANDO UTILITIES
   COMMISSION TO THE DEBTORS’ EMERGENCY MOTION FOR ENTRY OF
 INTERIM AND FINAL ORDERS (I) PROHIBITING UTILITIES FROM ALTERING,
  REFUSING, OR DISCONTINUING SERVICE ON ACCOUNT OF PREPETITION
   INVOICES; (II) DEEMING UTILITIES ADEQUATELY ASSURED OF FUTURE
    PERFORMANCE; (III) ESTABLISHING PROCEDURES FOR DETERMINING
ADEQUATE ASSURANCE OF PAYMENT; AND (IV) GRANTING RELATED RELIEF

       Florida Power & Light Company (“FPL”), Georgia Power Company (“Georgia Power”)

and Orlando Utilities Commission (“OUC”) (collectively, the “Utilities”), hereby object to the

Debtors’ Emergency Motion For Entry of Interim and Final Orders (I) Prohibiting Utilities

From Altering, Refusing, or Discontinuing Service on Account of Prepetition Invoices; (II)

Deeming Utilities Adequately Assured of Future Performance; (III) Establishing Procedures For

Determining Adequate Assurance of Payment, and (IV) Granting Related Relief (the “Utility

Motion”)(Docket No. 14), and set forth the following:

                                         Introduction

       The Debtors’ Utility Motion improperly seeks to shift the Debtors’ obligations under

Section 366(c)(3) from modifying the amounts of the adequate assurance of payment requested

by the Utilities under Section 366(c)(2) to setting the form and amount of the adequate assurance
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of payment acceptable to the Debtors. This Court should not permit the Debtors to shift their

statutory burden.

       The Debtors seek to have this Court approve their form of adequate assurance of

payment, which is a bank account containing $299,000 that supposedly reflects the estimated

average costs for two weeks of utility services, minus the amounts of any existing bonds or

deposits held by a utility (the “Bank Account”). Utility Motion at ¶ 13. Exhibit “A” to the

Utility Motion reflects that the Debtors propose to provide no adequate assurance of payment to

FPL or Georgia Power because those utilities held prepetition security. Not providing FPL or

Georgia Power with any adequate assurance of payment whatsoever because those Utilities held

prepetition security does not make sense because the Debtors do not know if: (a) any of the

amounts available under the prepetition security bonds held by Georgia Power will remain after

Georgia Power makes a demand upon those bonds; or (b) any of the FPL cash deposit will

remain after FPL exercises it rights under Section 366(c)(4) of the Bankruptcy Code to recoup

prepetition security against prepetition debt.

       Additionally, the Court should reject the Debtors’ proposed Bank Account because: (1)

The Utilities bill the Debtors on a monthly basis and provide the Debtors with generous payment

terms pursuant to applicable state law, tariffs and/or regulations, and a three-day utility escrow

account is not sufficient in amount or in form to provide the Utilities with adequate assurance of

payment; (2) Section 366(c) of the Bankruptcy Code specifically defines the forms of adequate

assurance of payment in Section 366(c)(1), none of which include a segregated bank account;

and (3) Even if this Court were to improperly consider the Bank Account as a form of adequate

assurance of payment for the Utilities, the Court should reject it as an insufficient form of

adequate assurance of payment for the reasons set forth in Section A.1. of this Objection.

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       The Utilities are seeking the following two-month cash deposits from the Debtors, which

are amounts that they are authorized to obtain pursuant to applicable state law: (a) FPL -

$21,247; (b) Georgia Power - $303,231; and (c) OUC - $20,600. Based on all the foregoing, this

Court should deny the Utility Motion as to the Utilities because the amounts of the Utilities’

post-petition deposit requests are reasonable under the circumstances and should not be

modified.

                                               Facts

                                         Procedural Facts

       1.      On January 19, 2020, the Debtors commenced their cases under Chapter 11 of

title 11 of the United States Code (the “Bankruptcy Code”) that are now pending with this Court.

The Debtors continue to operate their businesses and manage their properties as debtors in

possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

       2.      The Debtors’ chapter 11 bankruptcy cases are being jointly administered.

                                        The Utility Motion

       3.      On January 20, 2020, the Debtors filed the Utility Motion.

       4.      The Notice of Hearing (Docket No. 56) set (i) a deadline of February 3, 2020 to

file an objection to the Utility Motion, and (ii) a hearing on the Utility Motion to take place on

February 4, 2020 at 10:00 a.m.

       5.      In the Utility Motion, the Debtors seek to avoid the applicable legal standards

under Sections 366(c)(2) and (3) by seeking Court approval to avoid providing FPL or Georgia

Power with adequate assurance of payment because those two Utilities held prepetition security.

See Exhibit “A” to the Utility Motion; Utility Motion at ¶ 13. FPL held a prepetition deposit in

the amount of $5,701 that it will recoup against prepetition debt ($7,365.11) pursuant to Section

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366(c)(4) of the Bankruptcy Code. As such, the Debtors’ proposal to not provide FPL with any

adequate assurance whatsoever does not make sense because the prepetition deposit held by FPL

will not remain after recoupment. Although Georgia Power did not hold prepetition cash

deposits, it does hold three surety bonds in the total amount of $358,528 (the “Georgia Power

Bonds”). Georgia Power will be making claims upon the Georgia Power Bonds for the

prepetition charges owed by the Debtors to Georgia Power. As Georgia Power is entitled to

make demand upon those bonds to satisfy prepetition debt owed by the Debtor to Georgia Power,

it is not clear why the existence of the Georgia Power Bonds should form the basis for denying

any adequate assurance of payment for Georgia Power.

       6.      The Debtors seek to avoid the applicable legal standards under Sections 366(c)(2)

and (3) by seeking Court approval for their own form of adequate assurance of payment, which

is the Bank Account containing $299,000 that supposedly reflects the estimated average costs for

two weeks of utility services, minus the amount of any existing bonds or deposits held by a

utility. Utility Motion at ¶ 13.

       7.      The proposed Bank Account is not acceptable to the Utilities and should not be

considered relevant by this Court because Sections 366(c)(2) and (3) do not allow the Debtors to

establish the form or amount of adequate assurance of payment. Under Sections 366(c)(2) and

(3), this Court and the Debtors are limited to modifying, if at all, the amounts of security sought

by the Utilities under Section 366(c)(2).

       8.      The Debtors claim that in general, they have established satisfactory payment

histories with their utilities, and have made payment on a regular and timely basis. Utility

Motion at ¶ 9. However, Section 366(c)(3)(B)(ii) expressly provides that in making an adequate




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assurance of payment determination, a court may not consider a debtor’s timely payment of

prepetition utility charges.

       9.      The Debtors propose that upon their termination of utility services regardless of

any adequate assurance requests, the amount in the Bank Account will be reduced. Utility

Motion at ¶ 14. Even if monies were contained in the Bank Account on behalf of FPL and

Georgia Power, the Utilities bill the Debtors in arrears and the proposed Bank Account would be

insufficient to cover their monthly billing charges. Moreover, even if the Court were to approve

a Bank Account with amounts for FPL and Georgia Power, any amounts in that Bank Account

should not be released until the Debtors confirm payment in full of their post-petition utility

expenses.

       10.     The Utility Motion does not address why the Bank Account would be

underfunded at supposedly only nine days of utility charges ($987,000 of average monthly utility

charges and $299,000 in the Bank Account) when the Debtors know that the Utilities are

required by applicable state laws, regulations and/or tariffs to bill the Debtors monthly.

Moreover, presumably the Debtors want the Utilities to continue to bill them monthly and

provide them with the same generous payment terms that they received prepetition.

Accordingly, if the Bank Account is relevant, which the Utilities dispute, and monies were put

into the Bank Account on behalf of FPL and Georgia Power, the Debtors need to explain: (A)

why they are only proposing to deposit supposed two-week amounts into the Bank Account for

utilities that did not hold prepetition security; and (B) how such an insufficient amount could

even begin to constitute adequate assurance of payment for the Utilities’ monthly bills.

       11.     Furthermore, the Utility Motion does not address why this Court should consider

modifying, if at all, the amounts of the Utilities’ adequate assurance requests pursuant to Section

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366(c)(2). Rather, without providing any specifics, the Utility Motion merely states that the

Bank Account and prepetition security held by utilities, “in conjunction with the Debtors’ ability

to pay for future utility services in the ordinary course of business . . . constitute sufficient

adequate assurance to the Utility Providers.” Utility Motion at ¶ 15.

                                     Facts Concerning the Utilities

        12.      Each of the Utilities provided the Debtors with prepetition utility goods and/or

services and have continued to provide the Debtors with utility goods and/or services since the

Petition Date.

        13.      Under the Utilities’ regulated billing cycles, the Debtors receive approximately

one month of utility goods and/or services before the Utility issues a bill for such charges. Once

a bill is issued, the Debtors have approximately 20 to 30 days to pay the applicable bill. If the

Debtors fail to timely pay the bill, a past due notice is issued and, in most instances, a late fee

may be subsequently imposed on the account. If the Debtors fail to pay the bill after the issuance

of the past due notice, the Utilities issue a notice that informs the Debtors that they it must cure

the arrearage within a certain period of time or its service will be disconnected. Accordingly,

under the Utilities’ billing cycles, the Debtors could receive at least two months of unpaid

charges before the utility could cease the supply of goods and/or services for a post-petition

payment default.

        14.      In order to avoid the need to bring witnesses and have lengthy testimony

regarding the Utilities regulated billing cycles, the Utilities request that this Court, pursuant to

Rule 201 of the Federal Rules of Evidence, take judicial notice of the Utilities’ billing cycles.

Pursuant to the foregoing request and based on the voluminous size of the applicable documents,

the Utilities’ web site links to the tariffs and/or state laws, regulations and/or ordinances are as

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follows:

FPL: http://www.fpl.com/customer/rates_and_bill/rules_tariffs.shtml

Georgia Power: https://www.georgiapower.com/business/prices-rates/business-tariffs.cshtml

OUC: The OUC Electric Service Policies, which sets forth the OUC billing cycle, will be provided
upon request.

          15.      Subject to a reservation of the Utilities’ rights to supplement their post-petition

deposit requests if additional accounts belonging to the Debtors are subsequently identified, the

Utilities’ post-petition deposit requests are as follows:

Utility            No. of Accts.           Estimated Prepet. Debt           Deposit Request

FPL                        7               $7,365.11                        $21,247 (2-month)

Georgia Power              99              $not yet available               $303,231 (2-month)

OUC                        1               $not yet available               $20,600 (2-month)

          16.      FPL held a prepetition cash deposit in the amount of $5,701 that it will recoup against

prepetition debt pursuant to Section 366(c)(4) of the Bankruptcy Code. No FPL prepetition deposit

will remain after recoupment.

          17.      Georgia Power holds the three Georgia Power Surety Bonds in the total amount of

$358,528 that Georgia Power will make claims on for payment of the prepetition debt owed by the

Debtors to Georgia Power.

                                                 Discussion

          A.       THE UTILITY MOTION SHOULD BE DENIED AS TO THE UTILITIES.

          Sections 366(c)(2) and (3) of the Bankruptcy Code provide:

               (2) Subject to paragraphs (3) and (4), with respect to a case filed under chapter 11, a
                utility referred to in subsection (a) may alter, refuse, or discontinue utility service, if
                during the 30-day period beginning on the date of the filing of the petition, the utility
                does not receive from the debtor or the trustee adequate assurance of payment for
                utility service that is satisfactory to the utility;
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           (3)(A) On request of a party in interest and after notice and a hearing, the court may
            order modification of the amount of an assurance of payment under paragraph (2).

       As set forth by the United States Supreme Court, “[i]t is well-established that ‘when the

statute's language is plain, the sole function of the courts--at least where the disposition required

by the text is not absurd--is to enforce it according to its terms.’” Lamie v. United States Trustee,

540 U.S. 526, 534, 124 S. Ct. 1023, 157 L. Ed. 2d 1024 (2004) (quoting Hartford Underwriters

Ins. Co. v. Union Planters Bank, N. A., 530 U.S. 1, 6, 120 S. Ct., 1942, 147 L. Ed. 2d 1 (2000)).

Rogers v. Laurain (In re Laurain), 113 F.3d 595, 597 (6th Cir. 1997) (“Statutes . . . must be read

in a ‘straightforward’ and ‘commonsense’ manner.”). A plain reading of Section 366(c)(2)

makes clear that a debtor is required to provide adequate assurance of payment satisfactory to its

utilities on or within thirty (30) days of the filing of the petition. In re Lucre, 333 B.R. 151, 154

(Bankr. W.D. Mich. 2005). If a debtor believes the amount of the utility’s request needs to be

modified, then the debtor can file a motion under Section 366(c)(3) requesting the court to

modify the amount of the utility’s request under Section 366(c)(2).

         In this case, the Debtors filed the Utility Motion to improperly shift the focus of their

obligations under Section 366(c)(3) from modifying the amount of the adequate assurance of

payment requested under Section 366(c)(2) to setting the form and amount of the adequate

assurance of payment acceptable to the Debtors. Accordingly, this Court should not reward the

Debtors for their failure to comply with the requirements of Section 366(c) and deny the Utility

Motion as to the Utilities.

               1.      The Debtors’ Proposed Bank Account Is Not Relevant And Even If It
                       Is Considered, It Is Unsatisfactory Because It Does Not Provide the
                       Utilities With Adequate Assurance of Payment.

       This Court should not even consider the Bank Account as a form of adequate assurance

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of payment because: (1) It is not relevant because Section 366(c)(3) provides that a debtor can

only modify “the amount of an assurance of payment under paragraph (2)”; (2) The Bank

Account is not a form of adequate assurance of payment recognized by Section 366(c)(1)(A);

and (3) would not contain any money on behalf of FPL or Georgia Power. Moreover, even if the

Court were to consider the Bank Account, and the Debtors put funds in the Bank Account for

FPL and Georgia Power, the Bank Account is an improper and otherwise unreliable form of

adequate assurance of future payment for the following reasons:

           1. Unlike the statutory approved forms of adequate assurance of payment, the Bank
              Account is not something held by the Utilities. Accordingly, the Utilities have no
              control over how long the Bank Account will remain in place.

           2. In order to access the Bank Account, the Utilities have to incur the expense to
              draft, file and serve a default pleading with the Court and possibly litigate the
              demand if the Debtors refuse to honor a disbursement request.

           3. It is underfunded from the outset because the Utilities issue monthly bills and by
              the time a default notice is issued the Debtors will have received approximately
              60 days of commodity or service.

           4. The Debtors are not required to replenish the Bank Account following pay-outs.

           5. The Debtors fail to state whether draws from the Bank Account would be limited
              to two-week amounts.

           6. The Debtors may close the Bank Account before all post-petition utility charges
              are paid in full.

           7. The Debtors should not reduce the amount of Bank Account on account of the
              termination of utility services to a Debtor account until the Debtors confirm that
              all post-petition charges on a closed account are paid in full.

          Accordingly, the Court should not approve the Bank Account as adequate assurance as

  to the Utilities because the Bank Account is: (a) not the form of adequate assurance requested

  by the Utilities; (b) not a form recognized by Section 366(c)(1)(A); and (c) an otherwise

  unreliable form of adequate assurance.

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               2.     The Utility Motion Should Be Denied As To the Utilities Because the
                      Debtors Have Not Set Forth Any Basis For Modifying the Utilities’
                      Requested Deposits.

          In the Utility Motion, the Debtors fail to address why this Court should modify the

  amounts of the Utilities’ requests for adequate assurance of payment. Under Section

  366(c)(3), the Debtors have the burden of proof as to whether the amounts of the Utilities’

  adequate assurance of payment requests should be modified. See In re Stagecoach

  Enterprises, Inc., 1 B.R. 732, 734 (Bankr. M.D. Fla. 1979) (holding that the debtor, as the

  petitioning party at a Section 366 hearing, bears the burden of proof). However, the Debtors

  do not provide the Court with any evidence or factually supported documentation to explain

  why the amounts of the Utilities’ adequate assurance requests should be modified.

  Accordingly, the Court should deny the relief requested by Debtors in the Utility Motion and

  require the Debtors to comply with the requirements of Section 366(c) with respect to the

  Utilities.


          B.   THE COURT SHOULD ORDER THE DEBTORS TO PROVIDE THE
                    ADEQUATE ASSURANCE OF PAYMENT REQUESTED BY THE
               UTILITIES PURSUANT TO SECTION 366 OF THE BANKRUPTCY
                    CODE.

       Section 366(c) was amended to overturn decisions such as Virginia Electric and Power

Company v. Caldor, Inc., 117 F.3d 646 (2d Cir. 1997), that held that an administrative expense,

without more, could constitute adequate assurance of payment in certain cases. Section

366(c)(1)(A) specifically defines the forms that assurance of payment may take as follows:

               (i) a cash deposit;
               (ii) a letter of credit;
               (iii) a certificate of deposit;
               (iv) a surety bond;
               (v) a prepayment of utility consumption; or

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                (vi) another form of security that is mutually agreed upon between the utility and
                the debtor or the trustee.

        Section 366 of the Bankruptcy Code was enacted to balance a debtor’s need for utility

services from a provider that holds a monopoly on such services, with the need of the utility to

ensure for itself and its rate payers that it receives payment for providing these essential services.

See In re Hanratty, 907 F.2d 1418, 1424 (3d Cir. 1990). The deposit or other security “should

bear a reasonable relationship to expected or anticipated utility consumption by a debtor.” In re

Coastal Dry Dock & Repair Corp., 62 B.R. 879, 883 (Bankr. E.D.N.Y. 1986). In making such a

determination, it is appropriate for the Court to consider “the length of time necessary for the

utility to effect termination once one billing cycle is missed.” In re Begley, 760 F.2d 46, 49 (3d

Cir. 1985).

        The Utilities bill the Debtors on a monthly basis for the charges already incurred by the

Debtors in the prior month. The Utilities then provide the Debtors with approximately 20 to 30

days to pay a bill before a late fee may be charged, and also provide written notice before utility

service can be terminated for non-payment pursuant to applicable state laws, tariffs and/or

regulations. Based on the foregoing state-mandated billing cycles, the minimum period of time

the Debtors could receive service from the Utilities before termination of service for non-

payment of post-petition bills is approximately two (2) months. Moreover, even if the Debtors

timely pay their post-petition utility bills, the Utilities still have potential exposure of

approximately 45 to 60 days based on their billing cycles. Furthermore, the amounts of the

Utilities’ deposit requests are the amounts that the applicable public service commission, which

is a neutral third-party entity, permit the Utilities to request from their customers. The Utilities

are not taking the position that the deposits that they are entitled to obtain under applicable state


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law are binding on this Court, but, instead are introducing those amounts as evidence of amounts

that their regulatory entities permit the Utilities to request from their customers.

       Despite the fact that the Utilities continue to provide the Debtors with crucial post-

petition utility goods/services on the same generous terms that were provided prepetition, with

the possibility of non-payment, the Debtors are seeking to deprive the Utilities of adequate

security for which they are entitled to for continuing to provide the Debtors with post-petition

utility goods/services. Against this factual background, it is reasonable for the Utilities to seek

and be awarded the full security they have requested herein.

       WHEREFORE, the Utilities respectfully request that this Court enter an order:

     1.        Denying the Utility Motion as to the Utilities;

     2.        Awarding the Utilities the post-petition adequate assurance of payments pursuant

to Section 366 in the amount and form satisfactory to the Utilities, which is the form and amount

requested herein; and

     3.        Providing such other and further relief as the Court deems just and appropriate.

Dated: January 29, 2020                        BRINSON, ASKEW, BERRY, SEIGLER,
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                                      (pro hac vice application pending)




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this day of January 29, 2020, I caused a true and correct copy of the

foregoing Objection to be served upon the following parties via the Court’s ECF System or by email:

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